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            Exhibit 1
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    State          Age of       State statute regarding age for service in state militias in effect on June 8,     Changes between January 1, 1784 and December 15, 1791
                   militia                                         1789
                service as of
                June 8, 1789
Connecticut          16         An Act for Forming, Regulating, and Conducting the Military Force of this          N/A
                                State, Acts and Laws of the State of Connecticut, in America 144 (1786)
                                (EXHIBIT 2)
Delaware             18         An Act for Establishing a Militia Within This State, Del. Acts, Jan. Adjourned     N/A
                                Sess. 1782, at 1, https://heinonline.org/HOL/Page?handle=hein.ssl/ssde0069&
                                collection=ssl&id=1&startid=1&endid=16 (EXHIBIT 3)
Georgia              16         Act of 1770, in 19 Colonial Records of the State of Georgia pt. 1, at 137 (A.      An Act for Prescribing the Regulations and Restrictions Under
                                Candler ed., 1911) (EXHIBIT 4); An Act for Regulating the Militia of the           Which the Governor Shall Appoint Militia Officers and
                                State, and for Repealing the Several Laws Heretofore Made for that Purpose         Secretaries, 1789 Ga. Acts, Nov. Extraordinary Sess., at 45,
                                (1786), https://llmc.com/docDisplay5.aspx?set=39343&volume=1786&
                                                                                                                   https://heinonline.org/HOL/Page?handle=hein.ssl/ssga0239&
                                part=080
                                (EXHIBIT 5)                                                                        collection=ssl&id=32&startid=32&endid=32 (EXHIBIT 6)
                                                                                                                   (establishing 21 as minimum age for officers and secretaries)
Maryland             16         An Act for the Better Security of the Government, Md. Laws, Oct. Sess. 1777        N/A
                                ch. 20 (EXHIBIT 7); An Act to Raise Two Battalions of Militia for
                                Reinforcing the Continental Army, and to Complete the Number of Select
                                Militia, Md. Laws, May Sess. 1781 ch. 15 (EXHIBIT 8)
Massachusetts        16         An act, for regulating and governing the Militia of the Commonwealth of            N/A
                                Massachusetts, and for repealing all laws heretofore made for that purpose
                                (1785), in An act, for regulating and governing the Militia of the
                                Commonwealth of Massachusetts, and for repealing all laws heretofore made
                                for that purpose 3 (1786) (EXHIBIT 9)
New                  16         An Act for Forming and Regulating the Militia Within this State, and for           N/A
Hampshire                       Repealing All the Laws Heretofore Made for that Purpose (1786),
                                https://heinonline.org/HOL/P?h=hein.ssl/ssnh0079&i=15 (EXHIBIT 10)
New Jersey           16         An Act for the Better Regulating [sic] the Militia § 1, 1776 N.J. Acts Aug.        N/A
                                Sess. 26 (EXHIBIT 11); An Act to Embody, for a Limited Time, One
                                Thousand of the Militia of this State, for the Defence of the Frontiers Thereof,
                                1778 N.J. Acts, 2d Sitting 58 (EXHIBIT 12); An Act for the Regulating,
                                Training, and Arraying of the Militia, and for Providing More Effectually for
                                the Defence and Security of the State § 9, 1778 N.J. Acts, 2d Sitting 42, 44
                                (EXHIBIT 13); An Act for the Regulating, Training, and Arraying of the
                                Militia, and for Providing More Effectually for the Defence and Security of
                                the State § 10, 1780 N.J. Acts 39, 42 (EXHIBIT 14)
New York             16         An Act to Regulate the Militia, 1786 N.Y. Laws 220 (EXHIBIT 15)                    N/A
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North          16       An Act to Establish a Militia in this State § 2, in Acts of Assembly of the State   N/A
Carolina                of North Carolina 1, 1 (1777) (EXHIBIT 16)
Pennsylvania   18       An Act for the Regulation of the Militia of the Commonwealth of                     N/A
                        Pennsylvania § 3, 1780 Pa. Laws 347, 347 (EXHIBIT 17)
Rhode Island   16       The Act for Better Forming, Regulating and Conducting the Military Force of         N/A
                        this State, 1777 R.I. Acts, Oct. Reg. Sess. 29, 29, 31–32,
                        https://heinonline.org/HOL/P?h=hein.ssl/ssri0435&i=29 (EXHIBIT 18)
South          16       An Act for the Regulation of the Militia of this State, 1782 S.C. Acts, Feb.        N/A
Carolina                Sess. 20, 20–24, https://heinonline.org/HOL/Page?handle=hein.ssl/sssc0104&
                        collection=ssl&id=20&startid=&endid=27 (EXHIBIT 19)
Vermont        16       An Act Regulating the Militia of the State of Vermont, 1787 Vt. Stats., Feb. &      N/A
                        Mar. Sitting 94, 94 (EXHIBIT 20)
Virginia       18       An Act to Amend and Reduce into One Act, the Several Laws for Regulating            The 1785 Act (EXHIBIT 21) raised the age for militia service
                        and Disciplining the Militia, and Guarding Against Invasions and Insurrections      from 16 to 18. The law in effect prior to 1785 is:
                        § 3 (1785), in 12 William Waller Hening, The Statutes at Large; Being a             An Ordinance for Raising and Embodying a Sufficient Force,
                                                                                                            for the Defence and Protection of this Colony (1775), in 9
                        Collection of All the Laws of Virginia, from the First Session of the
                                                                                                            William Waller Hening, The Statutes at Large; Being a
                        Legislature, in the Year 1619, at 9, 10–12 (1823) (EXHIBIT 21)                      Collection of All the Laws of Virginia, from the First Session
                                                                                                            of the Legislature, in the Year 1619, at 9, 16–17 (1821)
                                                                                                            (EXHIBIT 22)
